
USCA1 Opinion

	





        December 28, 1995       [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                           

                                 ____________________


        No. 95-1267 

                               PETER RAYMOND CUMMINGS,

                                Plaintiff, Appellant,

                                          v.

                           HONORABLE EDWARD W. HANSON, JR.,

                                 Defendant, Appellee.

                                 ____________________


        No. 95-1418 

                               PETER RAYMOND CUMMINGS,

                                Plaintiff, Appellant,

                                          v.

                            EDWARD W. HANSON, JR., ET AL.,

                                Defendants, Appellees.


                                 ____________________

                    APPEALS FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                      [Hon. Nancy Gertner, U.S. District Judge]
                                           ___________________

                                 ____________________

                                        Before

                                Cyr, Boudin and Lynch,
                                   Circuit Judges.
                                   ______________

                                 ____________________

            Matthew  Cobb  on  Opposition  to  Appellees'  Motion for  Summary
            _____________












        Affirmance and Motion to Dismiss Appeal.
            W. Mark Dunn,  Assistant Attorney General,  on Motion  for Summary
            ____________
        Affirmance for appellees the  Honorable Edward W. Hanson, Jr.  and the
        Honorable Ronald H. Marks.
            William Shaw  McDermott,  William  C.  Nystrom and  Kirkpatrick  &amp;
            _______________________   ____________________      ______________
        Lockhart  on Motion for Summary Disposition for appellee Dominion Bank
        ________
        of Greater Hampton Roads, N.A.
            Robins, Kaplan, Miller &amp; Ciresi, Alan R. Miller, John N. Love,  J.
            _______________________________  ______________  ____________   __
        Jonathan Schraub, and Danny M. Howell on Motion for Summary Affirmance
        ________________      _______________
        for appellees John W. Richardson, Stallings, Richardson &amp; Rawls, P.C.,
        John F. Rixey, Julian A. Bryant, Jr., Dinsmore, Evans and Bryant,  and
        Joseph Lyle, Jr.


                                 ____________________


                                 ____________________
























































                      Per Curiam.  We agree with  the district court that
                      __________

            appellant  had   no  business  bringing  this   case  in  the

            Massachusetts  district  court.     Whatever  thin  technical

            arguments could be made in favor of personal jurisdiction and

            venue in Massachusetts, appellant's  counsel had to know that

            this case would be dismissed or transferred to Virginia since

            it  had ample contacts with  Virginia and virtually none with

            Massachusetts.  Indeed,  counsel acknowledged  that the  case

            was  likely  to  be  transferred  to  Virginia  even  if  the

            technical arguments prevailed.

                      Under these circumstances, we think  that dismissal

            rather  than  transfer  was  a permissible  choice  and  that

            sanctions of $1,000 jointly  and $1,000 against counsel alone

            were appropriate.  We prefer  to rest our affirmance entirely

            on Fed.  R. Civ. P.  11(b)(1) (improper purpose)  rather than

            11(b)(2)   (frivolous  legal   contentions)   but   have   no

            disagreement  whatever as to  the total amount.   The request

            for  further sanctions  on appeal  is denied, but  counsel is

            cautioned against a repetition of such conduct.

                      Affirmed.
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